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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
WEST PALM BEACH DIVISION
In re: CASE NO. 15-24705-EPK
NORMAN A. SCOTT,

Debtor.

VILLAGE OF WELLINGTON’S RESPONSE TO MOTION FOR VIOLATION OF
AUTOMATIC STAY AND MISCONDUCT INTEREFERENCE WITH CONTRACT

Village of Wellington, on behalf of itself, its Water Utility Department and its employee,
Mindi Lockhart, responds to Debtor, Scott Norman’s Motion for Violation of Automatic Stay
and Misconduct Interference with Contract (the “Motion”) and states as follows:

1. The Debtor owns property located in Wellington to which Wellington’s Water
Utility Department supplies water.

2. On April 20, 2015, long before the Debtor filed the instant bankruptcy action,
Wellington disconnected Debtor’s water based upon non-payment.

3. Between April 20, 2015 and August 13, 2015, Wellington did not reconnect the
Debtor’s water because there remained an outstanding balance on his account.

4. On or about August 13, 2015, Debtor met with Mindi Lockhart, Wellington’s
Customer Service Supervisor, to review his account and to pay the outstanding balance.

5. At that time, the Debtor informed Ms. Lockhart that his water was currently
“turned on.”

6. Ms. Lockhart accepted a check from Mr. Scott in the amount of $871.79, which

U.S. BANKRUPTCY COURT
was the balance due on the account. SO. DISTRICT OF FLORIDA-WPB

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7. On August 24, 2015, after the Debtor’s check was returned for non-payment,
Wellington shut off the Debtor’s water for the second time. At the time, Wellington was
unaware that Mr. Scott had filed a petition for bankruptcy.

8. Following receipt of the Court’s Order on Emergency Motion dated August 24,
2015, Wellington closed the existing water account and opened a new account against which
post-petition water use is being charged.

9. Between August 24, 2015 and the date of filing this response, Wellington has
continued to provide uninterrupted water service to Debtor’s property.

10. Two things should be noted. First, Sometime after April 20, 2015 Debtor or his
tenant tampered with the water meter to the property, which is a violation of Wellington’s Utility
Customer Service Policies. Second, Wellington has received no adequate assurance of payment
of post-petition water use from either the Debtor or the Trustee and Wellington is therefore
authorized to shut off the Debtor’s water pursuant to 11 U.S.C. § 366(b).’

11. | Under these circumstances, Wellington did not violate the automatic stay, nor did
it interfere in the Debtor’s relationship with its tenant. Accordingly, there is no legal basis for
imposing liability upon Wellington for the alleged damages incurred by the Debtor.

WHEREFORE, based upon the foregoing arguments and authorities, Wellington
respectfully requests that the Debtor’s Motion be denied as to Wellington, its Water Utility and
its employee, Mindi Lockhart. Wellington further requests an order permitting it to discontinue

water service to Debtor’s property pursuant to 11 U.S.C. §366(b).

' The filing of the Petition for Bankruptcy in this case constituted the order of relief. See
11 U.S.C. § 301 and 311.

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a copy of the foregoing has been sent electronically or by
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regular U.S. Mail or by fax to all creditors on the service list this RX day of October, 2015.

Laurie Stilwell Cohen, Village Attorney
Village of Wellington, Florida

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SERVICE LIST

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